      /Y\.G'V Case 3:18-mj-00514-JLB   Document 1 Filed 02/05/18 PageID.1 Page 1 of 3
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 1 ~/6 (9-0 \ <{.                                                         FEB 0 5 2018
                            UNITED STATES DISTRICT CO
 2
                          SOUTHERN DISTRICT OF CALlFO.t<ll3:1A.._ _-+.\:"""'-~~
 3
 4 UNITED STATES OF AMERICA,
                                                  Case No.:   1 8 UJ 0 5 1 4
 5                             Plaintiff,
                                                  COMPLAINT FOR VIOLATION OF
 6
           v.
 7                                                Title 21 U.S.c. § 952 and 960
                                                  Importation of a Controlled Substance
 8 Marco Antonio PRECIADO-Moreno,                 (Felony)
 9               Defendant.
10~________________________~


II
12         The undersigned complainant being duly sworn states:
13
14         On or about February 04, 2018, within the Southern District of California,
15 defendant, Marco Antonio PRECIADO-Moreno, did knowingly and intentionally import 5
16 kilograms and more, to wit: approximately 26.72 kilograms (58.78 pounds), of a mixture
17 or substance containing a detectable amount of cocaine, a Schedule II Controlled
18 Substance, into the United States from a place outside thereof, in violation of Title 21,
19 United States Code, Sections 952 and 960.
20         The complainant states that this complaint is based on the attached Statement   0

21 Facts incorporated herein by reference.
22
23
                                                 Sp~Michael Br'tfwn
                                                 Homeland Security Investigations
24
25 SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, THIS 5th DAY OF
26 FEBRUARY 2018.

27
28
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                             PROBABLE CAUSE STATEMENT
 2

 3          On February 04, 2018, at approximately 11 :08 a.m., defendant MARCO

 4    ANTONIO PRECIADO-MORENO ("PRECIADO"), a Mexican National, applied
 S
      for permission to enter into the United States from Mexico through the San Ysidro,
 6

 7    California, Port of Entry in vehicle lane #12.    PRECIADO was the registered
 8
      owner and driver of a 2014 Ford Focus bearing Mexican license plates ("the
 9

10    vehicle").
\I
            Customs and Border Protection Officer ("CBPO") David Mateos searched
12
      the vehicle with the assistance of a Narcotics Detection Dog while in vehicle lane
13'

14    12. The Narcotics Detection Dog alerted to the driver side passenger window of
IS
      the vehicle.   CBPO Mateos thereafter requested assistance from CBP Officers
16
17    assigned to the Anti-Terrorism/Contraband Enforcement Team (AT/CET).         CBP

18    Officer Morton responded to vehicle lane 12.
19
            CBPO Douglas Morton conducted the primary inspection of PRECIADO.
20

21    PRECIADO told CBPO Morton that his intended destination within the United

22    States was a swap meet (Spring Valley, CA). He gave two negative customs
23

24
      declarations to CBPO Morton, who referred and escorted the vehicle to the

2S    secondary lot for further inspection.
26

27

28
         Case 3:18-mj-00514-JLB Document 1 Filed 02/05/18 PageID.3 Page 3 of 3




           CBPO Jonathan Vanmeter conducted the secondary inspection of the

 2   vehicle.   During his secondary inspection, CBPO Vanmeter discovered twenty-
 3
     one packages, wrapped in cellophane wrap and duct tape, concealed within the
 4

 5   dashboard of the vehicle.    A randomly selected package from inside of the

 6   dashboard contained a white powdery substance that field-tested positive for
 7

 8
     cocame.    The combined weight of the packages was approximately 26.72

 9   kilograms (58.78 pounds). At approximately 2:10 p.m., HSI Special Agent Mike
10
     Brown, who used San Diego Police Officer Erick Valdez as a SpanishlEnglish
11

12   translator, interviewed PRECIADO.       PRECIADO agreed to waive his Miranda
13
     rights and speak with Special Agent Brown. During the interview, PRECIADO
14

15
     denied knowledge of the drugs within the vehicle, but then later in the interview

16   stated that he was going to be paid $1500.00 U.S. dollars to deliver the vehicle
17
     with drugs to the parking lot of the swap meet in Spring Valley, CA. As the
18

19   questioning continued, PRECIADO denied knowledge of the drugs again.
20
            PRECIADO was arrested and charged with a violation of Title 21, United
21
     States Code, 952 and 960, importation of a controlled substance, and booked into
22

23   the Metropolitan Correctional Center.
24

25

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                                             2
